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                                             August 30, 2021

VIA EMAIL ONLY
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       Re:      Our Client/Named Insured:                  Figg Bridge Builders, LLC
                Policy No:                                 061853758 (E&O)
                Claim No.:                                 2260321908US
                Matter:                                    AAA Case No. 01-20-0010-8384
                                                           Cline Avenue Bridge, LLC v. Figg Bridge
                                                           Builders, LLC (the “Arbitration
                                                           Proceeding”)

                Policy No:                                 023627244 (Commercial General
                                                           Liability)
                                                           028189263 (Excess Liability Policy) (the
                                                           “Policies”)
                Policy Period:                             07/10/2017 – 07/10/2018
                Claim Nos.:                                2740523371US
                                                           6620535152US


Dear Ellen and Jeffrey:

It is has come to our attention that defense counsel appointed by Lexington in the above-referenced
Arbitration Proceeding has suggested the need for separate expert witnesses to testify on behalf of
Figg Bridge Builders, LLC’s (“Figg”) at the final hearing. We can only presume that this directive
has come from Lexington in an effort to reduce the financial burden of the defense Lexington is
providing Figg. However, such an effort is not in keeping with Lexington’s defense obligation
and is a transparent effort to saddle Figg with the burden of paying out of pocket expert fees related
to its affirmative claims it is pursing against Cline Avenue Bridge in the Arbitration Proceeding
_____________________________________________________________________________________
    9111 W. College Pointe Drive, Fort Myers, FL 33919 | (239)337-1303 office | (239)337-7674 fax
                                **Please Reply to Fort Myers Office**

   800 W De Leon Street, Tampa, FL 33606 (239)337-1303 | P.O. Box 31578, Charleston, SC 29417 (843)576-4141
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and in turn reduce Lexington’s financial contribution to Figg’s defense. As previously noted, and
by way of reminder, Lexington is obligated to pay for Figg’s affirmative claims, and we have not
in any way retreated from the request that you do so.

Moreover, from a defense perspective, splitting expert testimony on the defense and affirmative
claims between two experts on the same, interwoven issues is illogical, inefficient, and will
handicap both Figg’s defense and prosecution of its counterclaims. As previously noted, Figg’s
defense and counterclaim prosecution go hand-in-hand. The success of one necessarily benefits
the other. In order words, Figg’s success in its affirmative claims will by definition exonerate it
from liability on the defense side. However, despite that reality, Lexington continues to pursue a
draconian dichotomy between the two which will inevitably result in excessive challenges at the
final hearing by requiring counsel to prepare two experts, require extra effort to ensure the experts
do not contradict one another, and increasing the potential for damaging cross examination from
opposing counsel. Lexington, by its practice is forcing Figg to expend out-of-pocket fees to
coordinate its insurance-provided defense with its affirmative claims. Such tactics are causing a
reduction in the value of its insurance coverage and bargained for defense. As such, Figg reserves
all rights with respect to recouping such funds.

Given the reality of the situation, it is inexplicable that Lexington is refusing to participate in the
prosecution of Figg’s affirmative claims and these continued efforts to economize Figg’s defense
will result in harm to the insured and its defense. For the reasons set forth herein and in our prior
correspondence, which is incorporated herein by reference, Figg once more requests that
Lexington revisit its position and begin fully funding Figg’s defense through prosecution of Figg’s
claims against the Claimant.

Due to the time constraints brought about by the AAA scheduling order, time is of the essence and
this issue must be resolved this week. As such, please let us know your availability to discuss on
August 31, 2021 or at the latest September 1, 2021. We appreciate your prompt attention to this
matter.

Sincerely,

Amanda K. Anderson
(Signed electronically to avoid delay)

Amanda K. Anderson
AAnderson@insurance-counsel.com
